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2
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4
     Attorney for CLARISA ANG
5

6                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     THE UNITED STATES OF AMERICA,    ) No. CR-S-08-318 LKK
8
                     Plaintiff,       )
9                                     ) STIPULATION AND
           v.                         ) ORDER TO CONTINUE THE STATUS
10                                    ) CONFERENCE
     JOY JOHNSON, et al.,             )
11
                                      ) Date: 8-10-10
12
                         Defendant.   ) Time: 9:15 a.m.
     ================================) Judge: Hon. Lawrence K. Karlton
13
            It is hereby stipulated between the parties, Assistant United States Attorney Russell
14

15
     Carlberg, Michael Long, attorney for CLARISA ANG, Michael Bigelow, attorney for CRIS ANG,

16   John Manning, attorney for COREY WHALEN and Jay Greiner, attorney for LENIN GALEANO,
17   that the status conference date of May 4, 2010, should be continued until August 10, 2010. Each of
18
     the above-listed defendants has pleaded guilty and is awaiting sentencing. The continuance is
19
     necessary as the sentencing must take place after the remaining defendants resolve their cases.
20
     Dated: May 3, 2010                                    Respectfully submitted,
21

22                                                         /s/ Michael D. Long__________
                                                           MICHAEL D. LONG
23                                                         Attorney for Clarisa Ang
24
     Dated: May 3, 2010
25                                                         BENJAMIN WAGNER
                                                           United States Attorney
26
                                                           /s/ Russell Carlberg____
27
                                                           RUSSELL CARLBERG
28                                                         Assistant U.S. Attorney



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1
     Dated: May 3, 2010                         Respectfully submitted,
2

3                                               /s/ Michael Bigelow__________
                                                MICHAEL BIGELOW
4                                               Attorney for Cris Ang
5

6    Dated: May 3, 2010                         Respectfully submitted,

7                                               /s/ John Manning__________
                                                JOHN MANNING
8
                                                Attorney for Corey Whalen
9
     Dated: May 3, 2010                         Respectfully submitted,
10
                                                /s/ James Greiner__________
11
                                                JAMES GREINER
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                                                Attorney for Lenin Galeano

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                              IN THE UNITED STATES DISTRICT COURT
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     THE UNITED STATES OF AMERICA,                ) No. CR-S-08-318 LKK
7                    Plaintiff,                   )
                                                  ) ORDER
8
            v.                                    )
9                                                 ) Date: 8-10-10
     JOY JOHNSON, et al.,                         ) Time: 9:15 a.m.
10                                                ) Judge: Hon. Lawrence K. Karlton
                     Defendant.                   )
11
     ================================)
12
            UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that the
13
     status conference for CLARISA ANG, CRIS ANG, COREY WHALEN and LENIN GALEANO,
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     presently set for May 4, 2010, at 9:15 a.m. be continued to August 10, 2010, at 9:15 a.m. Based on
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     the representations of counsel and good cause appearing therefrom, the Court hereby finds that the
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     failure to grant a continuance in this case would deny continuity of defense counsel, as he will be
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     unavailable on the presently set date.
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19
     Dated: May 3, 2010

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